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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Case No. 1:16-CV-01789- WJM-KLM

   JOHN DOE,

           Plaintiff,
   v.

  PHILIP DISTEFANO, as agent for University
  of Colorado, Boulder,

          Defendant.




                           OPPOSED MOTION TO CONTINUE TRIAL DATE

           Plaintiff John Doe, (“Plaintiff”) by his attorneys, Nesenoff & Miltenberg, LLP and Michael

   Mirabella P.C., hereby hereby moves the Court for an Order continuing the Trial Date of November

   12, 2019, set by the court without being cleared with counsels’ calendars (Doc. 170). As grounds

   therefore, Plaintiff states:

           In accordance with D.C.Colo.LCivR 7.1(a)(c), counsel for Plaintiff contacted counsel for

   Defendants regarding the relief requested herein, and Defendants’ counsel opposes the relief

   requested on the grounds that the current trial conflicts may become moot based on changes to the

   status of the conflicting trials or this case.

           As required by D.C.Colo.LCivR .1(c), counsel for Plaintiff hereby certifies that a copy of

   this motion is being served on his client, John Doe. As further required by D.C.Colo.LCivR .1(b),

   counsel states that there have been no prior continuances of this trial requested or granted.

           1.     Nesenoff and Miltenberg, LLP, the firm representing Plaintiff, has two trial counsel

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   available to try this case, Andrew Miltenberg and Stuart Bernstein, both based in New York City.

   In addition, counsel will be assisted by local counsel Michael Mirabella.

          2.     On March 17, 2019, the Court, without consulting counsel regarding their preexisting

   trial schedule, set this matter for a four day trial to the court commencing on November 12, 2019,

   at 8:30 am [Doc. 170]. Since that time, counsel have agreed that 3 days is probably sufficient to try

   this case, however, Plaintiff’s counsel has significant scheduling conflicts.

           3.    Undersigned counsel have several previously scheduled trials, in Federal Court, both

   immediately before and immediately after the date which the court has set for trial in this matter.

   These include:

             September 16, 2019, 10 day jury trial in the Federal Court for the Southern District of
              Iowa, Doe v. Grinnell College 4:17-cv-79.
             October 15, 2019, 7 day jury trial in the Federal Court for the Northern District of
              Ohio, Doe v. Case Western 1:17-cv-414.
             November 18, 2019, 7 day jury trial, District of Colorado, Doe v. University of
              Denver, 1:17 cv-1962 (Local Counsel Michael Mirabella will also be participating in
              this trial).
             In addition, on December 16, 2019, local counsel Michael Mirabella is scheduled for a
              7 day jury trial in a Medical Malpractice/Wrongful Death case in the District Court for
              Jefferson County, Colorado, Villapando v. Wheatley, 2018CV031762.
             On information and belief, Defendant’s counsel, David Temple also has a significant
              trial in mid-December 2019, however the details of that trial are not known.

           4.    Undersigned counsel is aware of this court’s Practice Standard II.D.3 which states:

                        Due to the extraordinary disruption to the Court’s calendar caused by the
                 rescheduling of trials, motions for continuance of a trial date (jury or bench) are
                 heavily discouraged and will rarely be granted. Such motions will be denied absent a
                 showing of substantial good cause arising out of truly compelling circumstances. For
                 purposes of this Practice Standard, “substantial good cause” does not include
                 previously scheduled trial settings unless that trial is before a judicial officer of this
                 Court.


          5.     Undersigned counsel also submits the following review of the factors in United States


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   v West, 828 F.2d 1468 (10th Cir. 1987). The factors in West are: 1) diligence of counsel, 2)

   usefulness of the continuance, 3) inconvenience to parties or the jury, 4) need and prejudice. Id, at

   1469-1470.

           6.    The court in West stated that the most important factor in the analysis is the requesting

   party’s need and prejudice. Id at 1470. In this case, the need and prejudice is palpable. Undersigned

   counsel is indispensable to preparation and presentation of the Plaintiff’s case. While it is certainly

   possible that counsel can prepare and present 3 days of trial presentation in the limited time between

   September 16 and November 27, it is not advisable to so and meet the high standards of professional

   conduct required in Federal Court. In particular, presenting this trial while also preparing for a Jury

   Trial before Judge Brimmer, to be presented the following week is chronologically impossible, and

   would require an untenable decision by counsel to give less than full attention to one or both

   matters.

           7.    Undersigned counsel has been diligent in seeking this continuance as there was no

   earlier opportunity to set forth the scheduling difficulties the current trial date present. After the

   Final Pretrial Order was accepted and entered by, Magistrate Judge Crews [Doc 167] Judge Crews

   simply stated that Judge Martinez would issue an order setting the trial. There was no consultation

   by Judge Martinez’ staff to clear the trial dates with counsel.

           8.    The requested continuance will be useful as the full attention of undersigned counsel

   will facilitate the efficient and orderly presentation of Plaintiff’s case.

           9.    No jury has been or will be impaneled in this matter, therefore the requested

   continuance will not result in inconvenience to the jury. Defense counsel has stated he will object

   to the motion on the grounds that the current case conflicts may resolve making this motion moot.

   In the event defense Counsel’s optimism is misplaced, all parties and the court will be faced with


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   an unnecessary last minute motion which will be far more inconvenient than resetting this matter

   now.

          WHEREFORE, Plaintiff respectfully requests that the current trial date be continued to a

   date which has been cleared with the calendars of counsel for both parties.

          Dated this 29th day of March, 2019.


                                                       Michael Mirabella P.C.

                                                       s/Michael M. Mirabella
                                                       [e-filing – March 29, 2019]
                                                       ______________________________
                                                       Michael J. Mirabella, Esq.
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                                                              -and-


                                                       NESENOFF & MILTENBERG, LLP

                                                        /s/ Andrew T. Miltenberg
                                                        [ e-filing – March 29, 2019]

                                                       Andrew T. Miltenberg, Esq.
                                                       Stuart Bernstein, Esq.
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                                                       Counsel for Plaintiff




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                                      CERTIFICATE OF
                                         SERVICE

         I hereby certify that on March 29, 2019, I electronically filed the foregoing
   pleading with the Court's electronic filing system (CM/ECF) which will
   automatically cause notification to be sent to the following counsel of record:

  David P. Temple
  Office of University Counsel
  1800 Grant Street, Suite 700
  Denver, CO 80203
  Attorney for University of Colorado Boulder and
  The Board of Regents of the University of Colorado

                                                       /Michael JMirabella




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